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 8

 9                                IN THE UNITED STATES DISTRICT COURT
10                                   EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-490 JAM
13                                 Plaintiff,              STIPULATION AND ORDER REGARDING
                                                           BREIFING SCHEDULE FOR POST-TRIAL RULE
14                           v.                            29 AND 33 MOTIONS
15   IRINA MARKEVICH, et al..                              Date:
                                                           Time:
16                                 Defendants.             Judge: Hon. John A. Mendez
17

18          Over the last week, all six defendants who recently completed trial in this matter have filed post-trial

19   motions for judgment of acquittal or a new trial pursuant to Federal Rules of Criminal Procedure 29 and 33.

20   See ECF 343-348. Defendants Irina Markevich, Marina Pukhkan, Anatoliy Markevich, and Svetlana

21   Markevich noticed their motions for hearing on the date set for sentencing, August 11, 2015. Defendants

22   Daniil Markevich and Alex Markevich did not set a date. By local rule the government’s oppositions would

23   start being due this Friday, May 22. The government and the undersigned counsel for five of the defendants

24   (all except Alex Markevich) hereby stipulate and agree, and request that the Court order, the following

25   briefing schedule on the motions:

26                 Government oppositions due June 5, 2015
27                 Defendants’ replies, if any, due June 19, 2015
28          The government also separately requests that the Court order the same briefing schedule for

      Stipulation and Proposed Order re Briefing           1
      Schedule on Post-Trial Rule 29 and 33 Motion
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 1   defendant Alex Markevich’s motion, which was filed yesterday, May 20, 2015. See ECF 348.

 2   Dated: May 21, 2015                                       BENJAMIN B. WAGNER
                                                               United States Attorney
 3

 4                                                             /s/ Christopher Hales
                                                               CHRISTOPHER S. HALES
 5                                                             Assistant United States Attorney
                                                               E. KATE PATCHEN
 6                                                             Special Assistant U.S. Attorney

 7
     /s/ Mark Reichel*                                         /s/ Tim Warriner*
 8   MARK J. REICHEL                                           TIMOTHY E. WARRINER
     Counsel for Defendant Daniil Markevich                    Counsel for Defendant Irina Markevich
 9

10   /s/ Dina Santos*                                          /s/ Jason Lawley*
     DINA L. SANTOS                                            M. JASON LAWLEY
11   Counsel for Defendant Marina Pukhkan                      Counsel for Defendant Anatoliy Markevich

12
     /s/ Julia Young*
13   JULIA M. YOUNG
     Counsel for Defendant Svetlana Markevich
14
                           * Signed with permission granted via email on May 21, 2015.
15

16                                                         ORDER
17          IT IS HEREBY ORDERED that the government’s oppositions to defendants’ post-trial Rule 29 and

18   33 motions (ECF 343-348) shall be filed on or before June 5, 2015, and defendants’ replies if any shall be

19   filed on or before June 19, 2015.

20
      Dated:   5/21/2015                                /s/ John A. Mendez
21                                                      THE HONORABLE JOHN A. MENDEZ
                                                        UNITED STATES DISTRICT COURT JUDGE
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      Stipulation and Proposed Order re Briefing           2
      Schedule on Post-Trial Rule 29 and 33 Motion
